                  Case 4:22-mj-30401-CI ECF No.AUSA:
                                                1, PageID.1
                                                       DePorre Filed 09/19/22 Page   1 of (810)
                                                                              Telephone:   9 766-5177
AO 91 (Rev. ) Criminal Complaint             Special Agent:         Hurt, ATF                    Telephone: (810) 341-5710

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan

United States of America                                                  Case: 4:22−mj−30401
   v.                                                                     Assigned To : Ivy, Curtis, Jr
                                                                          Assign. Date : 9/19/2022
Ramiro Barajas,
                                                                          Description: IN RE SEALED MATTER (kcm)




                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of        August 31, 2021 & January 12, 2022    in the county of             Genesee      in the
       Eastern           District of       Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description
18 U.S.C. § 922(g)(2) and 18 U.S.C. § 922(g)(3)        Having previously been convicted of a crime punishable by imprisonment for a
                                                       term exceeding one year, and knowing that he was an unlawful user of a
                                                       controlled substance, specifically methamphetamine, knowingly possessed, in
                                                       or affecting commerce, firearms and ammunition




         This criminal complaint is based on these facts:
On or about August 31, 2021 and on January 12, 2022, in the Eastern District of Michigan, Ramiro Cox Barajas, knowing that he had
been convicted of a crime punishable by imprisonment for a term exceeding one year, and knowing that he was an unlawful user of a
controlled substance, specifically methamphetamine, knowingly possessed, in or affecting commerce, firearms and ammunition in
violation of 18 U.S.C. § 922(g)(2) and 18 U.S.C. § 922(g)(3).




✔ Continued on the attached sheet.

                                                                                          Complainant’s signature

                                                                     Dustin Hurt, Special Agent, ATF
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: September 19, 2022                                                                     Judge’s signature

City and state: Flint, MI                                            Curtis Ivy, Jr., United States Magistrate Judge
                                                                                           Printed name and title
     Case 4:22-mj-30401-CI ECF No. 1, PageID.2 Filed 09/19/22 Page 2 of 9




                                    AFFIDAVIT

      1.     I have been employed as a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (ATF) since October of 2018. I am currently

assigned to the Detroit Field Division, Flint Field Office. Before working for the

ATF, I was employed by the Michigan Department of State Police (MSP) for

approximately seven years. Before working for MSP, I was a local police officer for

the Grand Ledge Police Department for approximately three years. I held numerous

positions with the MSP, including Detective Sergeant in the Polygraph Unit and

Task Force Officer with the FBI. During my employment with ATF and MSP, I have

conducted or participated in numerous criminal investigations focused on firearms,

armed drug trafficking, and criminal street gangs, and other violations of federal law.

      2.     I make this affidavit from personal knowledge based on my

participation in this investigation, my review of reports and other materials prepared

by those who have personal knowledge of the events and circumstances described

herein, and information gained through my training and experience. The information

outlined below is provided for the limited purpose of establishing probable cause

and does not contain all details or all facts of which I am aware relating to this

investigation.

      3.     Based on the information below, there is probable cause that on August

                                          1
     Case 4:22-mj-30401-CI ECF No. 1, PageID.3 Filed 09/19/22 Page 3 of 9




31, 2021 and on January 12, 2022, in the Eastern District of Michigan, Ramiro Cox

Barajas, knowing that he had been convicted of a crime punishable by imprisonment

for a term exceeding one year, and knowing that he was an unlawful user of a

controlled substance, specifically methamphetamine, knowingly possessed, in or

affecting commerce, firearms and ammunition.

                                 August 31, 2021

      4.     On Tuesday August 31, 2021, at approximately 2040 hours, Michigan

State Police (MSP) Troopers Whipple and Minchella were on patrol in a fully

marked patrol vehicle. The troopers observed a blue GMC Yukon traveling

eastbound on Corunna Rd. The Yukon made an abrupt turn from Corunna Road onto

northbound Mann Avenue. Troopers drove their patrol vehicle behind the Yukon

and observed several equipment violations. Among the violations, the troopers

observed that the Yukon did not have operable brake lights and did not have a

registration plate affixed to the vehicle. The troopers conducted a traffic stop and

made contact with the driver, Ramiro Cox Barajas (h/m XX/XX/1978), who was

identified by his Michigan Driver’s License. Barajas advised he did not have

insurance on his vehicle and was placed into handcuffs at this time pending further

investigation.

      5.     A Trooper searched Barajas and found methamphetamine in his pocket.

                                         2
     Case 4:22-mj-30401-CI ECF No. 1, PageID.4 Filed 09/19/22 Page 4 of 9




      6.     A Trooper searched the Yukon and found a pistol laying on the

floorboard near the rear passenger seat. The barrel of the pistol was pointing

towards the rear passenger door. The firearm, a Smith & Wesson Model: M&P

Shield EZ .380 caliber pistol bearing S/N: NJJ3572, had a loaded magazine and one

live round in the chamber. A further search located an ammunition box near the

pistol with only 6 live rounds of .380 ammunition inside. This ammunition matched

the caliber of the Smith & Wesson pistol located.

      7.     A Trooper advised Barajas of his Miranda rights. Barajas advised he

understood his rights and was willing to answer questions from the troopers. Barajas

explained that he used methamphetamine because he was going through a divorce.

Barajas advised he didn’t want to tell the troopers about the gun initially because he

was a convicted felon. Barajas said it’s “wild out here.”

      8.     Barajas was transported to the Flint City Jail where he was processed

and lodged. During the search at the jail, a police officer found a white corner tie

baggie stuffed between the right pant leg and the underwear of Barajas. The baggie

contained approximately four additional grams of methamphetamine.

      9.     Trooper Minchella utilized a TruNarc drug field test on the suspected

narcotics seized from Barajas. The TruNarc was positive for the presence of

methamphetamine.

                                          3
     Case 4:22-mj-30401-CI ECF No. 1, PageID.5 Filed 09/19/22 Page 5 of 9




      10.    ATF Special Agent (SA) Hurt conducted a custodial interview of

Barajas while incarcerated at the Genesee County Sheriff’s Office. Barajas admitted

to possessing the firearm and methamphetamine located on him during this traffic

stop by MSP. Barajas added he was using meth as a coping mechanism for marital

issues with his wife and was carrying the pistol for his protection.

                                 January 12, 2022

      11.    On January 12, 2022, at approximately 1545 hours, MSP Trooper

Hatfield was conducting stationary radar on I-69 when he observed a black Lincoln

Navigator traveling eastbound. As the Navigator passed Trooper Hatfield, he

observed that there was no license plate affixed to it. The Navigator exited the

freeway onto Irish Road traveling Southbound. Trooper Hatfield drove his patrol

vehicle and caught up with the Lincoln Navigator at the intersection of Irish Road

and Lapeer Road and he activated his emergency lights. The Navigator turned

Westbound onto Lapeer Road and into the Sunoco parking lot. The driver then drove

through the parking lot and exited back onto Irish Road when Trooper Hatfield

activated his sirens. The vehicle turned into the parking lot of Universal Solutions.

The driver then drove to the rear of the parking lot, stopped, and the driver fled

Southbound on foot.




                                          4
     Case 4:22-mj-30401-CI ECF No. 1, PageID.6 Filed 09/19/22 Page 6 of 9




      12.   Trooper Hatfield exited his patrol car, advised the passengers to stay in

the vehicle, and pursued the driver on foot while giving commands to stop. The

driver ran into a wooded area and crossed Kearsley Creek, Trooper Hatfield stopped

pursuing after he crossed the creek. The driver was a Hispanic male wearing blue

sweatshirt and gray sweatpants. As the driver fled, he dropped a brown wallet and

contents in the snow. Among the contents was an Indiana Operator’s License

belonging to the driver, Ramiro Barajas. When Trooper Hatfield returned, both

passengers had fled the vehicle. A K9 and additional units were requested. The two

other passengers were later located by other responding officers and identified as

Lauren Anthony Stratton (w/m XX/XX1987) and Danae Leigh Timmer (w/f

XX/XX1985).

      13.   Officer Thorpe with The Davison Township Police Department located

the driver, Ramiro Barajas, behind the residence of 7485 Wren Drive, in Davison.

Barajas was taken into custody without any incident.

      14.   Trooper Hatfield was assisted on scene by Trooper Purdy (K930) and

Trooper McGuckin (K939). Trooper Purdy and his K9 followed Barajas’ tracks to

the wooded area where he found a loaded black 9mm pistol magazine. Trooper

Purdy located a loaded pistol underneath an air conditioning unit behind the




                                         5
     Case 4:22-mj-30401-CI ECF No. 1, PageID.7 Filed 09/19/22 Page 7 of 9




residence at 7485 Wren Dr. The pistol was a SCCY Industries model: CPX-1, 9mm

caliber pistol bearing S/N: 323620. The firearm was reported stolen.

      15.   Trooper Hatfield searched the Navigator and located a black backpack

which contained hair cutting equipment and mail addressed to Barajas. Two 9mm

rounds of ammunition and two pipes for smoking methamphetamine were also

inside the backpack.

      16.   Once at the jail, Barajas spit out a clear zip lock baggie containing

suspected methamphetamine. Also, officers found a piece of paper containing

suspected cocaine/fentanyl inside of Barajas’ wallet. Officers tested the substances

using a TruNarc, which showed they were positive for the presence of their

respective substance.

      17.   On January 13, 2022, at approximately 1600 hours, ATF SA Hurt and

Genesee County Sheriff’s Office (GCSO) Lieutenant Kennamer conducted a

custodial interview with Barajas in an interview room at the GCSO related to the

above listed incident. Lt Kennamer advised Barajas of his Miranda rights prior to

the interview and Barajas advised he understood and agreed to speak. Barajas

advised he observed a Michigan State Trooper on the highway and began speeding

up and swerving to get stopped because he was in fear of one of his passengers. Once

the MSP Troopers attempted to conduct the traffic stop, Barajas advised that he told

                                         6
     Case 4:22-mj-30401-CI ECF No. 1, PageID.8 Filed 09/19/22 Page 8 of 9




one of his passengers to give him the firearm (later identified as a SCCY Industries

9mm pistol model: CPX-1 beating S/N: 323620) and the methamphetamine,

ultimately located by the Genesee County Jail Booking in his mouth, so he could

flee with them to save his own life. Barajas then fled on foot from the vehicle. He

said he took the magazine from the firearm and left it in his path of travel so pursuing

officers could locate him easily. Barajas admitted that his DNA would be on the

pistol and the magazine because he possessed them and threw the magazine while

fleeing. Barajas advised he had seen the firearm prior to the incident date.

      18.    As part of this investigation, I had an opportunity to query the criminal

history of Barajas which yielded the following:

             -On 6/8/99 – Barajas pled guilty in the 7th Circuit Court to Felony

             Assault with a Dangerous Weapon (CFN: 98-003339-FH).

             -On 10/27/03 – Barajas was found guilty of criminal mischief 1st

             Degree – Felony as well as possession of a defaced firearm – felony.


      19.    I am recognized by ATF as having expertise in the interstate travel and

manufacture of firearms. The Smith & Wesson, model M&P Shield EZ, .380 caliber

pistol bearing S/N: NJJ3572 and the SCCY Industries, model CPX-1, 9mm caliber

pistol bearing S/N: 323620 were manufactured outside of the state of Michigan and

are firearms as defined in Chapter 44, Title 18, United States Code.
                                           7
     Case 4:22-mj-30401-CI ECF No. 1, PageID.9 Filed 09/19/22 Page 9 of 9




      20.   Based on the foregoing, Based on the information below, there is

probable cause that on August 31, 2021 and on January 12, 2022, in the Eastern

District of Michigan, Ramiro Cox Barajas, knowing that he had been convicted of a

crime punishable by imprisonment for a term exceeding one year, and knowing that

he was an unlawful user of a controlled substance, specifically methamphetamine,

knowingly possessed, in or affecting commerce, firearms and ammunition in

violation of 18 U.S.C. § 922(g)(2) and 18 U.S.C. § 922(g)(3).



                                      ___________________________________
                                      Dustin Hurt
                                      Special Agent
                                      Bureau of Alcohol, Tobacco,
                                      Firearms & Explosives


Sworn to before me and signed in my presence and/or by reliable electronic means
on this 19th day of September, 2022.




Hon. Curtis Ivy, Jr.
United States Magistrate Judge




                                        8
